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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND


Ousmane Diouf                                                      *
       Plaintiff,
                                                                   *
                                                                                                         8:23-cv-02607-TDC焁焁
       v.                                                                               Case No.
                                                                   *
Liberty Mutual Insurance
       Defendant.                                                  *

                                   DISCLOSURE OF CORPORATE INTEREST


Check all that apply:

       I certify, as party/counsel in this case that
                                                                                                  (name of party)

is not an affiliate or parent of any corporation, and no corporation, unincorporated association,
partnership or other business entity, not a party to the case, has a financial interest in the outcome
of this litigation as defined in Local Rule 103.3 (D. Md.).




       The following corporate affiliations exist with Liberty Mutual Insurance                                                :
                                                                                                     (name of party)


Liberty Mutual Group, Inc., LMHC Massachusetts Holding, Inc., Liberty Mutual Holding Company, Inc.
                                                                                                                               .
                                                      (names of affiliates)




    The following corporations, unincorporated associations, partnerships or other business
entities which are not parties may have a financial interest in the outcome of this litigation:
Liberty Mutual Group, Inc., LMHC Massachusetts Holding, Inc., Liberty Mutual Holding Company, Inc.
                                                                                                                               .
                                          (names of entities with possible financial interests)




DisclosureCorpInterest (03/2015)
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Disclosure of Corporate Interest




    In a case based on diversity jurisdiction, the following is a list of all members of

________________________________ and their states of citizenship:
           (name of LLC party)



___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)




Note: If there are additional LLC members, please provide their names and states of citizenship
on a separate sheet of paper.




9/26/2023                                              /s/ Robert S. Reverski, Jr.
Date                                                   Signature
                                                       Robert S Reverski, Jr. 14245
                                                       Printed name and bar number
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